Dear Secretary Carnahan:
This opinion letter responds to your request dated October 27, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Dan Viets regarding a proposed amendment to Chapters 105, 195, and 263, Revised Statutes of Missouri (version 3). The proposed summary statement is as follows:
Shall the Missouri law be amended to:
  • legalize cannabis (commonly known as marijuana) for individuals 21 years or older;
  • make medical cannabis available to individuals with a physician's recommendation including those under 21 with parental or legal guardian consent and physician supervision;
  • create licensing processes for operation of cannabis establishments;
  • release individuals incarcerated or on probation or parole for non-violent, cannabis-only offenses *Page 2 
which would no longer be illegal and expunge all records related to such offenses; and
  • allow the legislature to enact a tax on the retail sale of dried cannabis up to $100 per pound?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________________ CHRIS KOSTER Attorney General *Page 1 